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                  UNITED STATES DISTRICT COURT
                  SOUTHERN DISTRICT OF GEORGIA
                        SAVANNAH DIVISION
DELMA COWART, Individually, and   )
d/b/a STRUCTURES UNLIMITED,       )                                        FILED
                                                                    Scott L. Poff, Clerk

                                  )                              United States District Court


     Plaintiff,                   )                       By James Burrell at 1:52 pm, Feb 06, 2018


                                  )
v.                                )             CV417-142
                                  )
NAUTILUS INSURANCE CO., and       )
AUDREY MANES,                     )
                                  )
     Defendant.                   )

                                  ORDER

     Defendant’s unopposed request for filing of original discovery in

support of its motion for summary judgment (doc. 20) is GRANTED.

     SO ORDERED, this 6th             day of February, 2018.
